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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
TINTRI, INC.,' ) Case No.: 18-11625 (KJC)
)
Debtor. )

) Related to Docket No. 5

INTERIM ORDER PURSUANT TO SECTIONS 105(a), 507(a)(8), AND 541(d) OF THE
BANKRUPTCY CODE (1) AUTHORIZING THE PAYMENT OF PREPETITION
SALES, USE, FRANCHISE AND OTHER SIMILAR TAXES AND FEES

Upon the Motion Pursuant to Sections 105(a), 507(a)(8), and 541 (d) of the
Bankruptcy Code Authorizing the Payment of Prepetition Sales, Use, Franchise and Other
Similar Taxes and Fees (the “Motion”)’ of the debtor and debtor in possession in the above-
captioned case (the “Debtor”); and it appearing that the Court has jurisdiction over this matter
pursuant to 28 U.S.C. §§ 157 and 1334, and that this proceeding is a core proceeding pursuant to
28 U.S.C. § 157(b)(2), and that venue of this proceeding and the Motion in this District is proper
pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having determined that the relief
requested in the Motion is necessary to the ongoing orderly operation of the Debtor’s business
and is in the best interests of the Debtor, its estate, and its creditors; and it appearing that the
notice of the Motion having been given as set forth herein was appropriate and that no other or
further notice need by given; and the “first day” hearing on the Motion having been held before

the Court; and objections, if any, to the Motion having been overruled, withdrawn, or otherwise

 

' The Debtor and the last four digits of its taxpayer identification numbers are (6978). The headquarters and service
address for the above-captioned Debtor is 303 Ravendale Dr., Mountain View, CA 94043.

” Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.

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resolved at the hearing; and after due deliberation and good and sufficient cause appearing
therefor; IT IS HEREBY ORDERED THAT:

1. The Motion is GRANTED on an interim basis as set forth herein.

2. The Debtor is authorized to pay the Prepetition Tax Obligations due and
owing as of the Petition Date, including, without limitation, through the issuance of postpetition
checks or wire transfer requests, as the Debtor deems necessary, in their sole discretion, in an
amount not to exceed $60,000 absent further order of this Court.

3. All, applicable banks, other financial institutions are authorized to receive,
process, honor, and pay any and all prepetition checks or by automated clearinghouse payment
issued by the Debtor for the payment of Prepetition Tax Obligations approved herein, whether
prior to or after commencement of this chapter 11 case.

4. The Debtor is authorized (consistent with this Order) to issue postpetition
checks or to effect postpetition automated clearinghouse requests in replacement of any checks
or automated clearinghouse requests relating to taxes that were dishonored or rejected.

5. Nothing herein shall impair any rights of the Debtor or any other party in
interest to dispute or object to any taxes asserted as owing to the Taxing Authorities or those
parties who ordinarily collect the Prepetition Tax Obligations as to amount, liability,
classification, or otherwise.

6. Notwithstanding anything to the contrary contained herein, any payment
made or to be made under this Order, any authorization contained in this Order, or any claim for

which payment is authorized hereunder, shall be subject to any orders of this Court approving

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any debtor in possession financing for, or any use of cash collateral by, the Debtor, and any
documents providing for such debtor in possession financing and the Budget governing such
debtor in possession financing and use of cash collateral.

7. Notwithstanding the possible applicability of Rules 6003 and 6004 of the
Federal Rules of Bankruptcy Procedure, the terms and conditions of this Order shall be
immediately effective and enforceable. The requirements set forth in Bankruptcy Rule 6003(b)
are satisfied by the Motion or otherwise deemed waived. To the extent the 14-day stay of
Bankruptcy Rule 6004(h) may be construed to apply to the subject matter of this Order, such stay
is hereby waived.

8. Notice of the Motion as provided therein shall be deemed good and
sufficient notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and Rule
9013-1(m) of the Local Rules of the United States Bankruptcy Court for the District of Delaware
are satisfied by such notice.

9, This Court shall retain jurisdiction over any and all matters arising from
the interpretation or implementation of this Order.

10. The final hearing (the “Final Hearing”) on the Motion shall be held on

Hive {6 , 2018, atl -0 dm. prevailing Eastern Time. Any objections or responses to entry

of a final order on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on

F 4 3 , 2018, and shall be served on: (i) the Debtor, Tintri, Inc., 303 Ravendale Dr.,
Mountain View, CA 94943, Attn: Robert J. Duffy; (ii) proposed counsel for the

Debtor, Pachulski Stang Ziehl & Jones LLP, 919 N. Market Street, 17" F loor, Wilmington, DE

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19801, Attn: Colin R. Robinson, Esq.; (iii) counsel to any statutory committee appointed in this
case; (iv) counsel for the DIP Lender, McDermott Will & Emery LLP, 2049 Century Park East,
38th Floor, Los Angeles, CA 90067-3218, Attn: Riley T. Orloff and prepetition lenders, Riemer ~
& Braunstein LLP, Three Center Plaza, 6th Floor, Boston, Massachusetts 02108, Attn: Paul S.
Samson; and (v) the Office of The United States Trustee, 844 King Street, Suite 2207, Lockbox
35, Wilmington, Delaware 19801 (Attn: Timothy J. Fox, Jr.) (collectively, the “Notice Parties”),
In the event no objections to entry of a final order on the Motion are timely received, this Court

may enter such final order without need for the Final Hearing.

Dated: — fat _ 2018 —

Honorable Kevin } Carey
United Btates ptcy Jud

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